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    1   BRODSKY MICKLOW BULL & WEISS LLP
        KURT MICKLOW, State Bar No. 113974
    2   kmicklow@bmbwlawfirm.com
        EDWARD M. BULL III, State Bar No. 141966
    3   ebull@bmbwlawfirm.com
        1070 Marina Village Parkway, Suite 200
    4   Alameda, CA 94501
        Telephone: (510) 268-6180
    5   Facsimile: (510) 268-6181
    6   Attorneys for Plaintiffs
        WESTWIND FISHERIES LLC,
    7   PHYLLIS SMITH and ALLEN SMITH
    8
    9
   10                        UNITED STATES DISTRICT COURT
   11                       CENTRAL DISTRICT OF CALIFORNIA
   12
   13
   14
        WESTWIND FISHERIES LLC,                    )     CASE NO.
   15   PHYLLIS E. SMITH and ALLEN M.              )
        SMITH,                                     )     COMPLAINT FOR:
   16                                              )     1) BREACH OF BAILMENT
                                 Plaintiffs,       )     UNDER THE GENERAL
   17                                              )     MARITIME LAW; 2)
        vs.                                        )     MARITIME NEGLIGENCE;
   18                                              )     AND 3) BREACH OF SHIP
                                                   )     REPAIR CONTRACT
   19   VENTURA HARBOR BOATYARD,                   )
        INC., a corporation; and DOES 1-10,        )     DEMAND FOR JURY TRIAL
   20   inclusive,                                 )
                                                   )
   21                            Defendants.       )
                                                   )
   22   ________________________________           )
   23
                                                  I.
   24
                                  GENERAL ALLEGATIONS
   25
              1.    This is an action arising out of the total loss by fire on January 30,
   26
        2017, of a United States flagged commercial fishing vessel named ELEVEN
   27
        ELEVEN while it was in the care custody and control of defendants at their
   28
        COMPLAINT FOR: 1) BREACH OF BAILMENT
        UNDER THE GENERAL MARITIME LAW;
        2) MARITIME NEGLIGENCE; AND
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    1   shipyard in Ventura County, California. The claims alleged are governed by the
    2   substantive maritime laws of the United States. Jurisdiction is proper in this Court
    3   because this is a case within the admiralty and maritime jurisdiction of the federal
    4   courts and it is also within this Court’s jurisdiction based on diversity of citizenship
    5   pursuant to the United States Constitution Article III, Section 2.
    6         2.     Venue is proper in the Central District of California pursuant to both
    7   28 U.S.C. §1391(b) and Supplemental Rule F(9) of the Supplemental Rules for
    8   Admiralty or Maritime Claims and Asset Forfeiture Actions. As alleged below,
    9   Defendants have their principal places of business in Ventura County, California,
   10   and all of the claims alleged arose within the Central District of California.
   11         3.     Plaintiff WESTWIND FISHERIES LLC, is a limited liability company
   12   formed and existing under the laws of the State of Washington. At all relevant
   13   times, Plaintiff WESTWIND FISHERIES LLC was the legal owner of the
   14   commercial fishing vessel ELEVEN ELEVEN EX: BASS OASIS, U.S.C.G.
   15   Official No. 587135 (“the Vessel”).
   16         4.     Plaintiffs PHYLLIS E. SMITH and ALLEN M. SMITH, are a married
   17   couple and are the principals of WESTWIND FISHERIES LLC. They are both
   18   citizens and residents of the State of Washington.
   19         5.     Plaintiffs are informed and believe and thereon allege that at all
   20   relevant times Defendant VENTURA HARBOR BOATYARD, INC., (“VHBY”)
   21   was and is a California corporation with its principal place of business in Ventura
   22   County, California.
   23         6.     Plaintiff is ignorant of the true names and capacities of the Defendants
   24   sued herein as DOES 1 -10, inclusive, and therefore, Plaintiff sues these Defendants
   25   by such fictitious names. Plaintiff will amend the Complaint to allege their true
   26   names and capacities when ascertained. In the meantime, Plaintiff is informed and
   27   believes that each of the fictitiously named Defendants is affiliated in one way or
   28
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        UNDER THE GENERAL MARITIME LAW;
        2) MARITIME NEGLIGENCE; AND
        3) BREACH OF SHIP REPAIR CONTRACT         -2-                CASE NO.
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    1   another with Defendant VHBY, and is responsible in some manner for the
    2   occurrences herein alleged.
    3         7.      Plaintiff is informed and believes that all of the Defendants, including
    4   those sued as DOES 1-10 herein, were and are the agents, alter egos, partners, joint
    5   venturers, co-conspirators, principals, shareholders, servants, employers, employees
    6   of their co-Defendants, and in doing the things hereinafter mentioned, were acting
    7   within the course and scope of their authority as such agents, alter egos, partners,
    8   joint venturers, co-conspirators, principals, shareholders, servants, employers, and
    9   employees with the permission, ratification or consent of their co-Defendants and
   10   thus are legally liable for all of the damages resulting from the acts or omissions of
   11   the others.
   12         8.      At all relevant times, Defendants owned and operated a ship repair and
   13   boatyard facility located at 1415 Spinnaker Dr, Ventura, California. At that facility,
   14   Defendants provide a wide range of ship repair and retrofitting services for both
   15   commercial and recreational vessels and regularly assume physical possession and
   16   control of their customers’ vessels for weeks or even months in order to complete
   17   their vessel repair or refurbishing services.
   18         9.      In April 2016, Plaintiffs hired Defendants to perform various services
   19   on the Vessel which, among other things required the Vessel to be pulled from the
   20   water and set on blocks on the Defendants’ property. It was understood between
   21   the parties at the time that Defendants would be responsible for loss or damage to
   22   the vessels in their custody but not for any loss or theft of any personal property left
   23   aboard the vessels. The terms of the ship repair contract between Plaintiffs and
   24   Defendants are reflected in the work order dated April 20, 2016, a copy of which is
   25   attached hereto as Exhibit 1.
   26         10.     The Vessel was hauled out of the water by Defendants on or about
   27   April 20, 2016, and placed on blocks in Defendants’ shipyard. At that time,
   28
        COMPLAINT FOR: 1) BREACH OF BAILMENT
        UNDER THE GENERAL MARITIME LAW;
        2) MARITIME NEGLIGENCE; AND
        3) BREACH OF SHIP REPAIR CONTRACT         -3-                CASE NO.
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    1   Plaintiffs surrendered possession and custody of the Vessel to Defendants. It was
    2   understood at the time that the Vessel would be kept on the premises at Defendants’
    3   shipyard and that Defendants would provide the necessary security and take all
    4   necessary and prudent steps to safeguard the Vessel while in their possession and
    5   while they were performing services pursuant to the work order, Exhibit 1.
    6          11.      On January 30, 2017, one or more individuals known to Defendants
    7   entered the boatyard and set one or more fires that consumed the Vessel rendering it
    8   a total loss.
    9                                                II.
   10                                FIRST CLAIM FOR RELIEF
   11                                   (For Breach of Bailment)
   12          10.      Plaintiffs refer to and by that reference incorporate as though fully set
   13   forth herein each and every allegation contained in paragraphs 1 through 10, above.
   14          11.      A bailment was created between Plaintiffs and Defendants when
   15   possession, custody and control of the Vessel was surrendered by Plaintiff and
   16   assumed by Defendants on or about April 20, 2016. Pursuant to this bailment,
   17   Defendants owed Plaintiffs an absolute duty to return the Vessel in its same
   18   condition to Plaintiffs at the conclusion of the bailment (which was to occur at the
   19   conclusion of the work specified in the work order, Exhibit 1).
   20          12.      Defendants breached their duty to return the Vessel in its same
   21   condition to Plaintiffs at the conclusion of the bailment. The Vessel was consumed
   22   by fire on Defendants’ premises on January 30, 2017, during the bailment period.
   23   Defendants have breached the bailment by failing to return the Vessel to Plaintiffs in
   24   the same condition and are liable for the loss or destruction of the Vessel during the
   25   bailment.
   26          13.      Defendants’ breach of bailment has caused economic damages to
   27   Plaintiffs, including but not limited to the value of the Vessel at the time it was
   28
        COMPLAINT FOR: 1) BREACH OF BAILMENT
        UNDER THE GENERAL MARITIME LAW;
        2) MARITIME NEGLIGENCE; AND
        3) BREACH OF SHIP REPAIR CONTRACT           -4-                CASE NO.
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    1   destroyed, the lost profits Plaintiffs would have earned from upcoming planned
    2   commercial fishing seasons and other related costs, fees and expenses, all in
    3   amounts to be proven at trial.
    4                                             III.
    5                             SECOND CLAIM FOR RELIEF
    6                                (For Maritime Negligence)
    7         14.    Plaintiff refers to and by that reference incorporates as though fully set
    8   forth herein each and every allegation contained in paragraphs 1 through 13, above.
    9         15.    At all times during the period in which Defendants had possession,
   10   custody and control of the Vessel at Defendants’ shipyard, Defendants owed
   11   Plaintiffs a duty to exercise due care in providing for the security and safety of the
   12   Vessel.
   13         16.    Defendants violated and breached this duty of care in the following
   14   respects, among others:
   15         (a)    failing to provide proper perimeter fencing and barriers around their
   16                shipyard in accordance with industry standards to prevent and deter
   17                trespass and vandalism, theft and/or destruction of the vessels entrusted
   18                to defendants’ care;
   19         (b)    failing to provide proper security cameras in and around their shipyard
   20                in accordance with industry standards to prevent and deter trespass and
   21                vandalism, theft and/or destruction of the vessels entrusted to
   22                defendants’ care;
   23         (c)    failing to provide lighting in and around their shipyard in accordance
   24                with industry standards to prevent and deter trespass and vandalism,
   25                theft and/or destruction of the vessels entrusted to defendants’ care;
   26         (d)    failing to provide proper alarm systems, warning systems or other
   27                deterrents (i.e. guard dogs) in their shipyard in accordance with
   28
        COMPLAINT FOR: 1) BREACH OF BAILMENT
        UNDER THE GENERAL MARITIME LAW;
        2) MARITIME NEGLIGENCE; AND
        3) BREACH OF SHIP REPAIR CONTRACT         -5-                CASE NO.
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    1                industry standards to prevent and deter trespass and vandalism, theft
    2                and/or destruction of the vessels entrusted to defendants’ care;
    3         (e)    failing to advise vessel owners of the substandard security at their
    4                shipyard and the substantial risks of damage to or destruction of their
    5                vessels whilst in the care, custody and control of Defendants;
    6         (f)    failing to take reasonable steps to guard and protect the vessels in
    7                Defendants’ care, custody and control when Defendants learned of
    8                possible threats to their shipyard by one or more persons formerly
    9                affiliated with Defendants;
   10         (g)    not having any reasonable security in accordance with industry
   11                standards to prevent and deter trespass and vandalism for the vessels in
   12                Defendants’ care, custody and control; and
   13         (h)    failing to exercise ordinary care under the circumstances to make their
   14                shipyard reasonably safe and secure for the purpose of storing and
   15                safekeeping the vessels entrusted to their care, custody and control.
   16         17.    Defendants’ negligence legally caused economic damages to Plaintiffs,
   17   when on January 30, 2017, one or more individuals known to Defendants entered
   18   the boatyard and set one or more fires that consumed the Vessel rendering it a total
   19   loss. Plaintiffs’ include but are not limited to the value of the Vessel at the time it
   20   was destroyed, the lost profits Plaintiffs would have earned from upcoming planned
   21   commercial fishing seasons and other related costs, fees and expenses, all in
   22   amounts to be proven at trial.
   23
   24                                              IV.
   25                              THIRD CLAIM FOR RELIEF
   26                          (For Breach of Ship Repair Contract)
   27         18.    Plaintiff refers to and by that reference incorporates as though fully set
   28
        COMPLAINT FOR: 1) BREACH OF BAILMENT
        UNDER THE GENERAL MARITIME LAW;
        2) MARITIME NEGLIGENCE; AND
        3) BREACH OF SHIP REPAIR CONTRACT          -6-                CASE NO.
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    1   forth herein each and every allegation contained in paragraphs 1 through 17, above.
    2         19.    The terms of the ship repair contract between Plaintiffs and Defendants
    3   are reflected in the work order dated April 20, 2016, a copy of which is attached
    4   hereto as Exhibit 1 and incorporated by reference herein. In consideration of
    5   Plaintiffs agreeing to hire and pay Defendants to perform ship repairs on the Vessel,
    6   Defendants agreed to undertake such repairs and to keep the Vessel safe on their
    7   premises whilst such repairs were ongoing.
    8         20.    Defendants breached the terms of the ship repair contract by failing to
    9   safely keep the Vessel on their premises and by failing to repair and return the
   10   Vessel as required under the terms of the ship repair contract.
   11         21.    Defendants’ breach of the terms of the ship repair contract have
   12   legally caused foreseeable economic damages to Plaintiffs, including but not limited
   13   to the value of the Vessel at the time it was destroyed, the lost profits Plaintiffs
   14   would have earned from upcoming planned commercial fishing seasons and other
   15   related costs, fees and expenses, all in amounts to be proven at trial.
   16                                               V.
   17                                  PRAYER FOR RELIEF
   18         WHEREFORE, Plaintiff prays judgment against Defendants, and each of
   19   them, as follows:
   20         1.    That Plaintiffs have judgment for their past and future economic
   21   damages, including but not limited to the value of the Vessel at the time it was
   22   destroyed, the lost profits Plaintiffs would have earned from upcoming planned
   23   commercial fishing seasons and other related costs, fees and expenses, in amounts
   24   according to proof at trial;
   25         2.    That Plaintiffs be awarded prejudgment interest on the amounts of the
   26   damages awarded;
   27         3.    For costs of suit herein; and
   28
        COMPLAINT FOR: 1) BREACH OF BAILMENT
        UNDER THE GENERAL MARITIME LAW;
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        3) BREACH OF SHIP REPAIR CONTRACT           -7-               CASE NO.
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    1         4.      For such other and further relief as this Honorable Court deems just
    2   and proper.
    3   DATED: February 9, 2018            Respectfully submitted,
    4                                      BRODSKY MICKLOW BULL & WEISS LLP
    5
                                           By:   /s/ Kurt Micklow
    6                                             Kurt Micklow
    7                                      Attorneys for Plaintiffs
                                           WESTWIND FISHERIES LLC,
    8                                      PHYLLIS SMITH and ALLEN SMITH
    9
   10                                              VI.
   11                               DEMAND FOR JURY TRIAL
   12         Plaintiff hereby demands a trial by jury.
   13
   14   DATED: February 9, 2018            Respectfully submitted,
   15                                      BRODSKY MICKLOW BULL & WEISS LLP
   16
                                           By:   /s/ Kurt Micklow
   17                                             Kurt Micklow
   18                                      Attorneys for Plaintiffs
                                           WESTWIND FISHERIES LLC,
   19                                      PHYLLIS SMITH and ALLEN SMITH
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        COMPLAINT FOR: 1) BREACH OF BAILMENT
        UNDER THE GENERAL MARITIME LAW;
        2) MARITIME NEGLIGENCE; AND
        3) BREACH OF SHIP REPAIR CONTRACT         -8-                CASE NO.
